        Case 2:17-bk-10135-SK                  Doc 9 Filed 01/23/17 Entered 01/23/17 13:49:45                       Desc
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Rev. 06/2014

                                            United States Bankruptcy Court
                                              Central District of California
                                            255 East Temple Street, Los Angeles, CA 90012

                          ORDER AND NOTICE OF DISMISSAL FOR
                  FAILURE TO FILE SCHEDULES, STATEMENTS AND/OR PLAN
    DEBTOR INFORMATION:                                                           BANKRUPTCY NO. 2:17−bk−10135−SK
    Socorro Reister
                                                                             CHAPTER 13
    Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s)., (if any): xxx−xx−2113
    Employer Tax−Identification (EIN) No(s).(if any): N/A
    Debtor Dismissal Date: 1/23/17


    Address:
    1640 Range Ct.
    Diamond Bar, CA 91765


It appearing that the debtor(s) in the above−captioned case has failed to file all the documents required under FRBP 1007 or
3015(b) within 14 days after the filing of the petition and no motion for an order extending the time to file the required documents
has been timely filed in accordance with FRBP 1007(a)(5) or 3015(b),


      IT IS HEREBY ORDERED THAT:

      1)       The case is dismissed.

      2)       The automatic stay is vacated.

      3)       Any discharge entered in this case is vacated.

      4)       The Court retains jurisdiction on all issues arising under Bankruptcy Code § 110, 329 and 362.




                                                                                By the Court,
Dated: January 23, 2017                                                         Kathleen J. Campbell
                                                                                Clerk of Court




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